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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF PENNSYLVANIA
                             PITTSBURGH DIVISION


WENDELL H. STONE COMPANY, INC.
d/b/a STONE & COMPANY, individually and
on behalf of all others similarly situated,
                                                      Case No. 2:18-cv-01135-AJS
                       Plaintiff,
                                                     FIRST AMENDED CLASS ACTION
v.                                                   COMPLAINT

PC SHIELD INC., an Oklahoma corporation,
and BRANDIE M. JORDAN, an individual,                JURY TRIAL DEMANDED

                       Defendants.

       Plaintiff Wendell H. Stone Company Inc. d/b/a Stone & Company (“Stone & Company”

or “Plaintiff”) brings this First Amended Class Action Complaint against Defendants PC Shield

Inc. (“PC Shield”) and Brandie M. Jordan (“Jordan”) (collectively “Defendants”) to stop

Defendants’ practice of sending unsolicited fax advertisements and to obtain redress for all

persons injured by their unlawful conduct. Plaintiff Stone & Company, for its First Amended

Class Action Complaint, alleges as follows upon personal knowledge as to itself and its own acts

and experiences, and, as to all other matters, upon information and belief, including investigation

conducted by its attorneys.

                                            PARTIES

       1)      Plaintiff Stone & Company is a corporation incorporated and existing under the

laws of the Commonwealth of Pennsylvania. Stone & Company’s principal place of business is

in Connellsville, Pennsylvania.

       2)      Defendant PC Shield, Inc. is a corporation incorporated and existing under the

laws of the State of Oklahoma. PC Shield does business throughout the United States, including

in the Commonwealth of Pennsylvania and in this District.


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       3)      Defendant Brandie M. Jordan is an individual and a citizen of the State of

Oklahoma who resides at 1009 NE 6th Street, Moore, Oklahoma 73160. Brandie M. Jordan is

also known as Brandie M. Law. Further, Defendant Brandie M. Jordan is the incorporator,

registered agent, and principal of Defendant PC Shield, Inc.

                                   JURISDICTION & VENUE

       4)      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq.

(“TCPA”) a federal statute. This Court also has jurisdiction under the Class Action Fairness Act,

28 U.S.C. § 1332 (“CAFA”). The alleged Class consists of over 100 persons, there is minimal

diversity, and the claims of the class members when aggregated together exceed $5 million.

Further, none of the exceptions to CAFA applies here.

       5)      The Court has personal jurisdiction over Defendants and venue is proper in this

District because Defendants regularly conduct business in this District and a substantial part of

the events giving rise to the claims asserted here occurred in this District.

                            COMMON ALLEGATIONS OF FACT

       6)      This case challenges Defendants’ practice of sending unsolicited fax

advertisements.

       7)      The federal Telephone Consumer Protection Act of 1991, as amended by the Junk

Fax Prevention Act of 2005, 47 U.S.C. § 227, et seq. (“JFPA” or the “Act”), and the regulations

promulgated under the Act, prohibit a person or entity from faxing or having an agent fax

advertisements without the recipient’s prior express consent, invitation, and permission. The

JFPA provides a private right of action and provides statutory damages of $500 per violation.

Upon information and belief, Defendants have sent facsimile transmissions of unsolicited




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advertisements to Plaintiff and the Class in violation of the JFPA in August 2017. (See “PC

Shield Fax,” a true and correct copy of which is attached hereto as Exhibit A.) The PC Shield

Fax promotes the services and goods of Defendants, namely their hardware and software

computer protection. Plaintiff is informed and believes, and upon such information and belief

avers, that Defendants have sent, and continue to send, unsolicited advertisements via facsimile

transmission in violation of the JFPA.

       8)      Unsolicited faxes cause damage to their recipients. A junk fax recipient loses the

use of its fax machine, paper, and ink toner. An unsolicited fax wastes the recipient’s time that

would have been spent on something else. A junk fax also invades the recipient’s privacy.

Unsolicited faxes prevent fax machines from receiving authorized faxes, prevent their use for

authorized outgoing faxes, cause undue wear and tear on the recipients’ fax machines, and

require additional labor to attempt to discern the source and purpose of the unsolicited message.

       9)      On behalf of itself and all others similarly situated, Plaintiff brings this case as a

class action asserting claims against Defendants under the JFPA.

       10)     Plaintiff is informed and believes, and on such information and belief states, that

this action is based on a common nucleus of operative fact because the facsimile transmissions at

issue were and are being performed in the same or similar manner. This action is based on the

same legal theory, namely liability under the JFPA stemming from the same faxes being sent

from the same equipment. This action seeks relief expressly authorized by the JFPA: (i)

injunctive relief enjoining Defendants, their employees, agents, representatives, contractors,

affiliates, and all persons and entities acting in concert with them, from sending unsolicited

advertisements in violation of the JFPA, and (ii) an award of statutory damages in the minimum

amount of $500 for each violation of the JFPA, and to have such damages trebled, as provided




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by § 227(b)(3) of the Act.

                 FACTS SPECIFIC TO PLAINTIFF STONE & COMPANY

       11)     In August 2017, Defendants caused an unsolicited facsimile to be transmitted by

telephone facsimile machine to Plaintiff. (See Ex. A.)

       12)     PC Shield profited from and received the benefits of marketing its products and

services by fax and is a responsible party under the JFPA.

       13)     Defendants created or caused to be made Exhibit A hereto, which Defendants

knew or should have known advertises Defendants’ goods or products (namely, their computer

protection software and other products), and Defendants intended to and did in fact distribute

Exhibit A to Plaintiff and the other members of the Class.

       14)     Exhibit A is a fax advertisement that is part of Defendants’ work or operations,

including their marketing of the products, which is performed by Defendants and/or on behalf of

Defendants. Exhibit A constitutes material furnished in connection with Defendants’ work or

operations.

       15)     Plaintiff never consented or invited Defendants to send the faxes, nor has Plaintiff

ever given permission to Defendants to send the Fax and had no prior relationship with

Defendants.

       16)     On information and belief, Defendants faxed the same unsolicited facsimile to

Plaintiff and more than 40 other recipients without first receiving the recipients’ express

permission or invitation to send such faxes.

       17)     On information and belief, throughout its existence, PC Shield failed to operate as

a distinct business entity. That is, PC Shield failed to maintain adequate business records, failed

to maintain minutes of any meetings between the managers, and commingled the funds and




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assets of the corporation with the principals’ personal funds. Additionally, on information and

belief, PC Shield does not possess any substantive assets and is severely undercapitalized.

       18)     Further, PC Shield is not physically located anywhere, and its registered agent’s

address is a P.O. Box.

       19)     Moreover, on information and belief, Defendants do not actually sell any of the

goods or products that they claim to sell. Rather, Defendants’ utilize the unsolicited faxes to

obtain money from consumers without providing the goods and services as promised.

       20)     Additionally, Brandie M. Jordan utilizes PC Shield as a shield against legal

liability and controls all aspects of PC Shield for her own personal benefit.

       21)     Brandie M. Jordan also personally directed, oversaw, and executed the fax

campaign at issue.

       22)     There is no reasonable means for Plaintiff (or any other class member) to avoid

receiving unauthorized faxes. Fax machines are left on and ready to receive the communications

their owners actually desire and consent to receiving.

       23)     Defendants’ facsimile did not display a proper opt-out notice as required by 47

C.F.R. 64.1200. Among other things, it did not apprise recipients of their legal right to opt out.

                               CLASS ACTION ALLEGATIONS

       24)     Plaintiff brings this action pursuant to Fed. R. Civ. P. 23(b)(2) and (b)(3) on

behalf of itself and the Class defined as follows:

       No Consent Class: All persons who (1) on or after four years prior to the filing of
       this action, (2) were sent, by Defendants or on Defendants’ behalf an unsolicited
       telephone facsimile message substantially similar to Exhibit A, (3) from whom
       Defendants claims they obtained prior express permission or invitation to send
       those faxes in the same manner as Defendants claims they obtained prior express
       consent to fax Plaintiff.

       25)     The following individuals are excluded from the Class: (1) any Judge or



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Magistrate presiding over this action and members of their families; (2) Defendants, Defendants’

subsidiaries, parents, successors, predecessors, and any entity in which Defendants or their

parents have a controlling interest and their current or former employees, officers and directors;

(3) Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion

from the Class; (5) the legal representatives, successors or assigns of any such excluded persons;

and (6) persons whose claims against Defendants have been fully and finally adjudicated and/or

released. Plaintiff anticipates the need to amend the class definition following appropriate

discovery.

        26)     Numerosity: The exact number of members within the Class is unknown and not

available to Plaintiff at this time, but it is clear that individual joinder is impracticable. On

information and belief, Defendants have sent facsimile advertisements to hundreds or thousands

of consumers who fall into the definition of the Class. However, the exact number of members of

the Class can only be identified through Defendants’ records.

        27)     Typicality: Plaintiff’s claims are typical of the claims of all class members.

Plaintiff received the Faxes sent by or on behalf of Defendants advertising goods and services of

Defendants during the Class Period. Plaintiff is making the same claims and seeking the same

relief for itself and all class members based upon the same federal statute. Defendants have acted

the same or in a similar manner with respect to Plaintiff and all the class members.

        28)     Adequate Representation: Plaintiff will fairly and adequately represent and

protect the interests of the Class. It is interested in this matter, has no conflicts, and has retained

experienced class counsel to represent the Class.

        29)     Commonality and Predominance: Common questions of law and fact apply to

the claims of all class members. Common material questions of fact and law include, but are not




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limited to, the following:

               a)        Whether Defendants sent an unsolicited fax advertisement;

               b)        Whether Defendants’ fax advertised the commercial availability of

               property, goods, or services;

               c)        Whether the manner and method Defendants used to compile or obtain the

               list of fax numbers to which it sent Exhibit A and other unsolicited faxed

               advertisements procured prior express consent from the recipients to send the

               faxes;

               d)        Whether Defendants faxed advertisements without first obtaining the

               recipient’s prior permission or invitation;

               e)        Whether Defendants sent the faxed advertisements knowingly;

               f)        Whether Defendants violated the provisions of 47 U.S.C. § 227, et seq.

               and the regulations promulgated thereunder;

               g)        Whether the Faxes contained an “opt-out notice” that complies with the

               requirements of § 227(b)(1)(C)(iii) of the Act, and the regulations promulgated

               thereunder, and the effect of the failure to comply with such requirements;

               h)        Whether Defendants should be enjoined from faxing advertisements in the

               future;

               i)        Whether Plaintiff and the other members of the Class are entitled to

               statutory damages; and

               j)        Whether the Court should award treble damages.

       30)     Conduct Similar to the Class as a Whole: Class certification is appropriate

because Defendants have acted and refused to act in the same or similar manner with respect to




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all class members thereby making injunctive and declaratory relief appropriate. Plaintiff

demands such relief as authorized by 47 U.S.C. §227, et seq.

       31)     Superiority & Manageability: Common questions of law and fact predominate

over any questions affecting only individual members, and a class action is superior to other

methods for the fair and efficient adjudication of the controversy because:

               a)     Proof of Plaintiff’s claims will also prove the claims of the Class without

               the need for separate or individualized proceedings;

               b)     Evidence regarding defenses or any exceptions to liability that Defendants

               may assert and prove will come from Defendants’ own records and will not

               require individualized or separate inquiries or proceedings;

               c)     Defendants have acted and is continuing to act pursuant to common

               policies or practices in the same or similar manner with respect to all class

               members;

               d)     The amount likely to be recovered by individual class members does not

               support individual litigation. A class action will permit a large number of

               relatively small claims involving virtually identical facts and legal issues to be

               resolved efficiently in one (1) proceeding based upon common proofs; and

               e)     This case is manageable as a class action in that:

                      i)      Defendants identified persons or entities to receive the fax

                      transmission and it is believed that Defendants’ computer and business

                      records will enable Plaintiff to readily identify class members and

                      establish liability and damages;

                      ii)     Liability and damages can be established for Plaintiff and the Class




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                       with the same common proofs;

                       iii)    Statutory damages are provided for in the statute and are the same

                       for all class members and can be calculated in the same or a similar

                       manner;

                       iv)     A class action will result in an orderly and expeditious

                       administration of claims and it will foster economics of time, effort and

                       expense;

                       v)      A class action will contribute to uniformity of decisions

                       concerning Defendants’ practices; and

                       vi)     As a practical matter, the claims of the Class are likely to go

                       unaddressed absent class certification.

                                      CAUSE OF ACTION
                Violation of the Junk Fax Protection Act, 47 U.S.C. § 227, et seq.
                        (On behalf of Plaintiff and the No Consent Class)

          32)   Plaintiff incorporates by reference the foregoing allegations as if fully set forth

herein.

          33)   The JFPA makes unlawful for any person to “use any telephone facsimile

machine, computer or other device to send, to a telephone facsimile machine, an unsolicited

advertisement …” 47 U.S.C. § 227(b)(1)(C).

          34)   The JFPA defines “unsolicited advertisement” as “any material advertising the

commercial availability or quality of any property, goods, or services which is transmitted to any

person without that person's prior express invitation or permission, in writing or otherwise.” 47

U.S.C. § 227(a)(5).

          35)   The faxes sent by Defendants advertised Defendants’ software and hardware




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protection packages, were commercial in nature, and are advertisements under the TCPA.

       36)     Plaintiff and the other class members never gave prior express consent, invitation,

or permission to receive the faxes. All Faxes were unsolicited, and Plaintiff has no prior business

relationship with Defendants.

       37)     Opt-Out Notice Requirements: The JFPA strengthened the prohibitions against

the sending of unsolicited advertisements by requiring, in § 227(b)(1)(C)(iii) of the Act, that

senders of faxed advertisements place a clear and conspicuous notice on the first page of the

transmission that contains the following among other things (hereinafter collectively the “Opt-

Out Notice Requirements”).

                       1.       a statement that the recipient is legally entitled to opt-out of

               receiving future faxed advertisements – knowing that he or she has the

               legal right to request an opt-out gives impetus for recipients to make such

               a request, if desired;

                       2.       a statement that the sender must honor a recipient’s opt-out

               request within 30 days and the sender’s failure to do so is unlawful –

               thereby encouraging recipients to opt-out, if they did not want future

               faxes, by advising them that their opt-out requests will have legal “teeth”;

                       3.       a statement advising the recipient that he or she may opt-

               out with respect to all of his or her facsimile telephone numbers and not

               just the ones that receive a faxed advertisement from the sender – thereby

               instructing a recipient on how to make a valid opt-out request for all of his

               or her fax machines;




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       The requirement of (1) above is incorporated from § 227(b)(2)(D)(ii) of the Act. The

requirement of (2) above is incorporated from § 227(b)(2)(D)(ii) of the Act and the rules and

regulations of the Federal Communications Commission (“FCC”) in ¶ 31 of its 2006 Report and

Order (In the Matter of Rules and Regulations Implementing the Telephone Consumer Protection

Act, Junk Prevention Act of 2005, 21 F.C.C.R. 3787, 2006 WL 901720, which rules and

regulations took effect on August 1, 2006). The requirements of (3) above are contained in §

227(b)(2)(E) of the Act and incorporated into the Opt-Out Notice Requirements via §

227(b)(2)(D)(ii). Compliance with the Opt-Out Notice Requirements is neither difficult nor

costly. The Opt-Out Notice Requirements are important consumer protections bestowed by

Congress upon the owners of fax machines giving them the right, and means, to stop unwanted

faxed advertisements. As a result of such requirements, a sender of a faxed advertisement who

fails to comply with the Opt-Out Notice Requirements has, by definition, transmitted an

unsolicited advertisement under the JFPA. This is because such a sender can neither claim that

the recipients of the faxes advertisement gave “prior express permission or invitation” to receive

the Faxes nor can the sender claim the exemption from liability contained in § 227(b)(1)(C) of

the Act.

       38)      The Faxes: Defendants sent the August 2017 faxes via facsimile transmission

from a telephone facsimile machine, computer, or other device to the telephone facsimile

machines of Plaintiff and members of Class. The Faxes constituted an advertisement under the

Act. Defendants failed to comply with the Opt-Out Requirements in connection with the Faxes

because the faxes fail to apprise recipients of their legal right to opt out and instead provide no

mechanism at all to cease the transmission of faxes. The PC Shield Faxes were transmitted to

persons or entities without their prior express permission or invitation and/or Defendants are




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precluded from asserting any prior express permission or invitation because of the failure to

comply with the Opt-Out Notice Requirements. By virtue thereof, Defendants violated the JFPA

and the regulations promulgated thereunder by sending the Faxes via facsimile transmission to

Plaintiff and members of the Class.

        39)    Defendants’ Other Violations. Plaintiff is informed and believes, and upon such

information and belief avers, that during the period preceding four years of the filing of this

Complaint and repeatedly thereafter, Defendants have sent via facsimile transmission from

telephone facsimile machines, computers, or other devices to telephone facsimile machines of

members of the Class faxes that constitute advertisements under the JFPA that were transmitted

to persons or entities without their prior express permission or invitation (and/or that Defendants

are precluded from asserting any prior express permission or invitation because of the failure to

comply with the Opt-Out Notice Requirements in connection with such transmissions). By virtue

thereof, Defendants violated the JFPA and the regulations promulgated thereunder. Plaintiff is

informed and believes, and upon such information and belief avers, that Defendants are

continuing to send unsolicited advertisements via facsimile transmission in violation of the JFPA

and the regulations promulgated thereunder, and absent intervention by this Court, will do so in

the future.

        40)    The TCPA/JFPA provides a private right of action to bring this action on behalf

of Plaintiff and the Class to redress Defendants’ violations of the Act, and provides for statutory

damages. 47 U.S.C. § 227(b)(3). The Act also provides that injunctive relief is appropriate. Id.

        41)    Defendants knew or should have known that (a) Plaintiff and the other class

members had not given express invitation or permission for Defendants or anybody else to fax

advertisements about Defendants’ goods or services; (b) the faxes constituted an advertisement;




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and (c) the Faxes did not apprise recipients of their legal right to opt-out.

       42)     Defendants’ actions caused damages to Plaintiff and the other class members.

Receiving Defendants’ junk faxes caused the recipients to lose paper and toner consumed in the

printing of Defendants’ faxes. Moreover, Defendants’ faxes used Plaintiff's fax machine.

Defendants’ faxes cost Plaintiff time, as Plaintiff and its employees wasted their time receiving,

reviewing, and routing Defendants’ unauthorized faxes. That time otherwise would have been

spent on Plaintiff's business activities. Defendants’ faxes unlawfully invaded Plaintiff’s and other

class members’ privacy interests in being left alone. Finally, the injury and property damage

sustained by Plaintiff and the other class members from the sending of Defendants’

advertisements occurred outside of Defendants’ premises.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Stone & Company, Inc., on behalf of itself and the Class,

prays for the following relief:

               1.      An order certifying this case as a class action on behalf of the Class as

defined above; appointing Plaintiff Stone & Company as the representative of the Class and

appointing its attorneys’ as Class Counsel;

               2.      An award of actual monetary loss from such violations or the sum of five

hundred dollars ($500.00) for each violation, whichever is greater;

               3.      An order enjoining Defendants from further violations, and otherwise

protecting the interests of the Class;

               4.      An order piercing the corporate veil of the corporate protections and

holding Brandie M. Jordan personally liable for the Defendants’ actions;

               5.      An award of pre-judgment interest;




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               6.      An award of reasonable attorneys’ fees and costs;

               7.      And award of treble damages where willfulness is shown; and

               8.      Such further and other relief the Court deems reasonable and just.

                                         JURY DEMAND

       Plaintiff requests a trial by jury of all claims that can be so tried.



Dated: June 19, 2019                                   STONE & COMPANY, INC., individually,
                                                       and on behalf of all others similarly
                                                       situated,


                                                       By: /s/ Patrick H. Peluso

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